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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                        Plaintiff,

                                                                        ORDER

                                                                        05-CR-6161L

                        v.

JOHN NICOLO,
CONSTANCE ROEDER,
DAVID FINNMAN,

                              Defendants.
________________________________________________


        I understand from Probation Officer Kevin Lyons that the presentence reports as to all

defendants have been distributed. Please adhere to the following schedule concerning any objections

to that report.

        First, before filing any objections with the Court, please engage in the required administrative

process with Officer Lyons to work to resolve any disputed issues.

        Second, objections, if any, must be filed with the Court on or before October 27, 2008. The

Government must reply, if inclined to do so, by November 10, 2008.

        Once I have received the objections, I will be in a position to determine the nature and the

extent of them and will, accordingly, schedule a sentencing hearing to resolve disputed issues. I

anticipate that this first hearing will just involve objections to the presentence report and, once those
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objections are resolved, I will schedule another proceeding, or proceedings, for actual imposition of

the sentences.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge


Dated: Rochester, New York
       October 6, 2008.




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